               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


WALTER BISCARDI, JR., DANIEL
DAUBE, AMANDA RIER and
STEFANIE MULLEN,
                                              CIVIL ACTION FILE
       Plaintiffs,
                                              NO. 1:22-CV-3940-MHC
V.




 OUTDOOR MASTERCLASS, INC.,
 and MARK TREAGER,

       Defendants.


                                     ORDER

      On March 20, 2023, this Court entered an order that required the corporate

Defendant Outdoor Masterclass, Inc., to notify the Clerk of Court within twenty -

one (21) days of the date of the Order of the name and contact information of its

new counsel, because it cannot appear pro se and must be represented by counsel.


Mar. 20, 2023 Order [Doc. 23]. The Order also stated the "[f] allure to designate

counsel for Defendant Outdoor Masterclass, Inc. could result in a default being

entered against Defendant Outdoor Masterclass, Inc." See LR 83.1(E)(4), NDGa.

Although there are filings on the record which include letters from co-defendant

Mark Treager, CEO/President of Defendant Outdoor Masterclass Inc., of purported
efforts to interview prospective counsel, the Clerk has received no notification that

counsel for the corporate Defendant has been retained.


      Accordingly, Mr. Treager is advised that unless counsel for Outdoor


Masterclass has entered an appearance on behalf of that Defendant within fourteen

(14) days of the days of this Order, the Court will have no alternative than to direct


the Clerk to enter a default against the corporate Defendant and the case shall

proceed against Mr. Treager, who may represent himself in his individual capacity

pro se,


      The Clerk is DIRECTED to mail a copy of this Order to:

      Mark Treager
          CEO/President
      Outdoor Masterclass, Inc.
      107 Technology Parkway, NW
      Peachtree Comers, GA 30092

          IT IS SO ORDERED this 20th day of April, 2023.




                                        MARK H. COHEN
                                        United States District Judge
